                                                               United States Bankruptcy Court
                                                                        District of Kansas
            Brent Christopher Scheuerman
 In re      Steven Christopher Scheuerman                                                                Case No.    19-20667
                                                                                 Debtor(s)               Chapter     7


                                   NOTICE OF CHANGE OF ADDRESS FOR CREDITOR (GENERIC)

The Creditor's former mailing address was:

 Name:             Creditors Financial Group

 Address:          PO Box 440290
                   Aurora, CO 80044

Please be advised that effective May 21                              , 20 19 ,
The Creditor's new mailing address is:

 Name:             Creditors Financial Group

 Address:          3131 S. Vaughn Way
                   #110
                   Aurora, CO 80014



                                                                             /s/ Jordan Schwartz
                                                                             Jordan Schwartz 23372
                                                                             Authorized Signer/Title




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                                        Case 19-20667                Doc# 16      Filed 05/21/19       Page 1 of 1
